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IN THE UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA
(Western Division — Los Angeles)

 

12 || Jenny McCreadie, et al., Case No. CV 09-02596 RT = PFW
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Plaintiffs, [Prepeset!] AT
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JUDGMENT
15 VS.

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COUNTY OF RIVERSIDE, et al.,

Defendants.

 

 

 

On or about May 24 or May 25, 2012, the jury in the above captioned case
returned a number of special verdicts in favor of plaintiffs against defendants,
Jeff Edwards (“Edwards”), Salvador Cisneros (“Cisneros”), and Lisa Larios

(“Larios”). Pursuant to those verdicts, judgment is hereby entered as follows:

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Plaintiffs M.G., T.G., and D.G., by and through their Guardian Ad Litem
Jenny McCreadie, shall recover $4,400 each, from each of the defendants
Edwards, Cisneros, and Larios, joint,and severally. for a total of $39,600.

Plaintiff Jenny McCreadie shall recover $1,00 from each of the defendants
Edwards, Cisneros, and Larios, joint 4 te verally. for a total of $3.00.

Plaintiffs are entitled to their costs of suit.

on
Date: J@/4 /12 fobut\ Jin Le
ROBERT J/TIMLIN

_United States District Judge

 

 

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JUDGMENT
US. District Ct. - Western Dist.
Case No. CV 09-02596 RT - PJW

 

 
